            Case 3:20-cv-00941-RNC Document 18 Filed 09/15/20 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

DEBORAH LAUFER,
         Plaintiff,

v.                                                           Case No: 3:20-cv-941-RNC


NATRUM ASSOCIATES,                                           Sept. 15, 2020
         Defendant.

     PLAINTIFF’S MOTION TO STRIKE REPLY OR, IN THE ALTERNATIVE, FOR
                        LEAVE TO FILE SUR-REPLY

       Plaintiff, by and through undersigned counsel, hereby submits this Motion to Strike

Defendant’s Reply Memorandum, filed at DE 17. In the alternative, Plaintiff respectfully requests

that this Court grant leave to file a Sur-Reply..

       1.       On August 13, 2020, Defendant filed its first Motion To Dismiss and

                Memorandum. DE 11, 11-1. The Plaintiff filed its First Amended Complaint on

                August 14, 2020. DE 12. The Defendant filed a Motion to Dismiss, again, on

                August 18, 2020. DE 13, 13-1. The Plaintiff filed a response Memorandum in

                Opposition to the Motion to Dismiss on August 26, 2020. DE 16.

       3.       On September 9, 2020, at DE 17, Defendant filed a Reply Memorandum which

                cites new cases in its arguments that the Plaintiff lacks standing. See Defendant’s

                Reply Memorandum, DE 17 at p. 4. These cases were not cited in the

                Defendant’s original Motion to Dismiss and Memorandum even though they are

                cases that go back to 2019 and 2013.

       4.       For the reasons set forth below, Defendant’s Reply Brief must be stricken. In the



                                                    1
          Case 3:20-cv-00941-RNC Document 18 Filed 09/15/20 Page 2 of 3




               alternative, Plaintiff must be granted leave to file a sur-reply.

                                           Memorandum

       It is well established that arguments that were not properly presented in a party’s initial

brief or are raised for the first time in the reply brief are deemed waived. Strom v. Goldman,

Sachs & Co., 202 F.3d 138, 142 (2d Cir. 1999); Knipe v. Skinner,999 F.2d 708, 710-11 (2d Cir.

1993); NLRB v. Star Color Plate Service, Div. Of Einhorn Ent., Inc., 843 F.2d 1507, 1510 n. 3

(2d. Cir. 1988); United States v. Gigante, 39 F.3d 42, 50 n.2 (2d. Cir. 1994). This includes

situations where the reply brief cites legal authority that was omitted in the original brief. Ernst

Haas Studio, Inc. v. Palm Press, Inc., 164 F.3d 110, 113 (2d Cir., 1999).

       Defendant’s Reply brief is replete with new arguments it failed to make and citations to

cases it failed to reference in its earlier Memorandum on the issue of standing. Defendant has no

excuse for having failed to properly present these arguments or cite references in its

Memorandum in Support of its Motion to Dismiss and should not have waited until filing its

Reply Memorandum to complete its research.

       Because Defendant is citing new cases for the first time, Plaintiff is prejudiced because

she has no opportunity to rebut them.

                                             Conclusion

       For the foregoing reasons, Defendant’s Reply Brief must be stricken or, in the alternative,

Plaintiff must be granted leave to file a sur-reply.
                                                       Respectfully submitted,

                                                       For the Plaintiff, DEBORAH LAUFER,

                                                       By: L. Kay Wilson, Esq. Fed. Juris ct16084
                                                       WILSON LAW


                                                   2
         Case 3:20-cv-00941-RNC Document 18 Filed 09/15/20 Page 3 of 3




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                                     Certificate of Meet/Confer
       I hereby certify that I conferred with Defendant’s attorney with respect to the instant
motion and the Defendant opposes it.


                                       Certificate of Service

I hereby certify that on the 15th day of September, 2020, a copy of the foregoing Motion to Strike
or Leave to File a Sur-reply was filed electronically and served on all counsel of record via the
Court’s CM/ECF system.


                                              /s/ L. Kay Wilson, Fed. Juris ct16084




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